              Case 21-40561                      Doc 2           Filed 04/16/21 Entered 04/16/21 16:13:30                        Desc Main
                                                                    Document    Page 1 of 5




 Fill in this information to identify the case:
 Debtor name         Newstream Hotel Partners-LIT, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

Case number (if known)         21-40561
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that Is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result In fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature

       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                                             -
                  Schedule A/B: Assets Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of penury that the foregoing is true and correct.

         Executed on
                                                                      Signature of individual signing on behalf of debtor

                                                                      Timothy Nystrom
                                                                      Printed name

                                                                      See Exhibit "A"
                                                                      Position or relationship to debtor




Official Form 202                                              Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                       EXHIBIT “A”


MANAGING MEMBER:

Newstream Hotel Equity Partners - LIT, LLC
A Texas limited liability company

By:      Newstream Hotels & Hospitality, LLC
         A Texas limited liability company
         Its manager



                Z
               “


By:
      Timothy Nystrom, Manager
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 Fill in this information to identify the case:
 Debtor name Newstream Hotel Partners-LIT, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS                                                                                Check if this is an

 Case number (if known):               21-40561                                                                                                       amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Centerpoint Energy                                                                                                                                                         $2,635.00
 Services Inc.
 P.O. Box 4583
 Houston, TX 77210
 Comcast Business                                                                                                                                                           $1,387.17
 P.O. Box 37601
 Philadelphia, PA
 19101
 Cutler Property                                                                                                                                                              $957.50
 Preservation &                  cutlerlawncare@ya
 Landscape                       hoo.com
 P.O. Box 845
 Greenbrier, AR
 72058
 Diamond State Heat              Angie                                                                                                                                      $8,208.41
 and Air
 7706 Forest Road                angie@diamondsta
 North Little Rock,              tehvac.com
 AR 72118
 Ecolab, Inc.                    Doug Wilson                                                                                                                                $2,969.68
 PO Box 100512
 Pasadena, CA 91189              doug.wilson@ecol
                                 ab.com
 Elite Protection                                                                                                                                                           $1,014.79
 Group                           bcope@epgark.co
 P.O. Box 614                    m
 North Little Rock,
 AR 72115
 GE Appliances                                                                                                                                                              $9,000.14
 A Haier Company
 P.O. Box 100393
 Atlanta, GA 30384
 Glazers                                                                                                                                                                    $1,060.93
 11101 Smitty Lane
 North Little Rock,
 AR 72117



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Newstream Hotel Partners-LIT, LLC                                                                  Case number (if known)        21-40561
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 HD Supply Facility                                                                                                                                                         $3,697.66
 Maintenance
 P.O. Box 509058
 San Diego, CA
 92150
 Hire Quest Direct                                                                                                                                                          $2,395.38
 3115 John F.
 Kennedy Blvd.                   (501) 379-8326
 Building 1
 North Little Rock,
 AR 72116
 Kharma Consulting                                                                                                                                                          $1,619.52
 Inc.                            billing@kharmacon
 5521 JFK Blvd.                  sulting.com
 North Little Rock,
 AR 72116
 Marriott                                                                                                                                                               $249,442.25
 International                   rheisler@ehotelgro
 13682 Collections               up.com
 Center Drive
 Chicago, IL 60693
 Pepsi-Cola                                                                                                                                                                 $2,705.22
 P.O. Box 75948
 Chicago, IL 60675
 Performance Food                                                                                                                                                           $9,589.03
 Group
 P.O. Box 208592
 Dallas, TX 75320
 Protravel                                                                                                                                                                  $6,992.00
 International, LLC
 1633 Broadway
 35th Floor
 New York, NY 10019
 U.S. Foods                                                                                                                                                                 $2,861.70
 P.O. Box 281834
 Atlanta, GA 30384
 Utility Billing                                                                                                                                                            $5,795.15
 Services                        customerservice@
 P.O. Box 8100                   carkw.com
 Little Rock, AR
 72203
 Vistar                                                                                                                                                                     $1,629.02
 P.O. Box 933580
 Atlanta, GA 31193
 Waste Management                                                                                                                                                             $938.40
 of Little Rock
 Hauling
 P.O. Box 55558
 Boston, MA 02205




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Newstream Hotel Partners-LIT, LLC                                                                  Case number (if known)        21-40561
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 World Cinema, Inc.                                                                                                                                                         $2,989.33
 P.O. Box 733288
 Dallas, TX
 75373-3288




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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